 Case 4:23-cr-00060-JKW-DEM Document 2 Filed 07/24/23 Page 1 of 8 PageID# 2




     AFFIDAVIT IN SUPPORT OF APPLICATION FOR CRIMINAL COMPLAINT



                                         INTRODUCTION


I, Heather Call, being first duly sworn state:

        1.     Your affiant, Heather Call, employed with the Newport News Police Department

(NNPD) since June, 2004, and more specifically with the Special Victims Unit since July, 2011.

This assignment has afforded me the opportunity to investigate and/or arrest and prosecute

numerous individuals for crimes relating to the neglect and abuse of children in violation of the

Virginia (VA) State Code. I have previously been involved in criminal investigations concerning

violations of federal laws. Those investigations included, but are not limited to, child exploitation

and child pornography. Since joining the NNPD your affiant has attended specialized training

courses in child/adolescent interviewing, human trafficking, identifying and seizing electronic

evidence, and computer forensic, recover}', and social site investigations.

       2.      I am currently assigned as a Master Police Detective with the Newport News Police

Department, Criminal Investigations Division, Special Victims Unit, as well as a Task Force

Officer (TFO) assigned to the Federal Bureau of Investigation, Norfolk Division Child

Exploitation Task Force. I have participated in investigations involving sexual assaults, persons

who collect and distribute child pornography, and the distribution of materials relating to the sexual

exploitation of children. I have received training from the FBI in the areas of sexual assaults and

child exploitation, and I have reviewed images and videos of child pornography in a wide variety

of media forms, including computer media. I have also discussed and reviewed these materials

with other law enforcement officers.



                                                  1
Case 4:23-cr-00060-JKW-DEM Document 2 Filed 07/24/23 Page 2 of 8 PageID# 3




        3.     I was deputized as a Special Deputy United States Marshal on June 16, 2014. As a

Special Deputy United States Marshal, your Affiant is authorized to investigate violations of laws

of the United States and to execute warrants issued under the authority of the United States.

       4.      This affidavit supports an application for a criminal complaint charging

KRISTIANA MUNRO TWEED-MCCORD, with Coercion and Enticement, in violation of

Title 18, United States Code, § 2422(b).

       5.      This affidavit is based upon information that I have gained from my investigation,

my training and experience, as well as information gained from conversations with other law

enforcement officers. Since this affidavit is being submitted for the limited purpose of securing a

criminal complaint, I have not included each and every fact known to me concerning this

investigation. I have set forth only the facts that I believe are necessary to establish probable cause

to believe that KRISTIANA MUNRO TWEED-MCCORD, has committed a violation of Title

18, United States Code, § 2422(b).

                      STATUTORY AUTHORITY AND DEFINITIONS


       6.       This investigation concerns alleged violations of Title 18, United States Code,

§ 2422, relating to coercion and enticement of a minor. Title 18, U.S.C. § 2422(b) provides that

whoever, using the mail or any facility or means interstate or foreign commerce.... knowingly

persuades, induces, entices, or coerces any individual who has not obtained the age of eighteen to

engage in prostitution or any sexual activity for which any person could be charged with a criminal

offense or attempts to do so shall be fined under this title and imprisoned.

       7.      The term "computer," as used herein, is defined pursuant to Title 18, United States

Code, Section 1030(e)(1), as "an electronic, magnetic, optical, electrochemical, or other high speed


                                                  2
Case 4:23-cr-00060-JKW-DEM Document 2 Filed 07/24/23 Page 3 of 8 PageID# 4




data processing device perfomiing logical or storage functions, and includes any data storage

facility or communications facility directly related to or operating in conjunction with such

device.


                                 FACTS AND CIRCIMSTANCES


                On January 14, 2023, the mother of 11-year-old Jane Doe, L.C-V., contacted the

FBI after locating inappropriate sexual messages on the tablet belonging to Jane Doe. J.C-V. lives

in Florida with Jane Doe, while Jane Doe’s father resides in Williamsburg, Virginia. L.C-V. stated

the messages, over the social media application Wattpad, started in the beginning of December

2022 when Jane Doe was visiting her father Williamsburg, Virginia.          L.C-V. identified the

offender as a family friend named Kris Tweed-McCord, whom she believed was age 29, who had

previously dated Jane Doe’s older sibling. L.C-V. explained the comments from Tweed-McCord

consisted of telling Jane Doe how to masturbate, stating she was horny, asking what happens when

Jane Doe gets horny, and asking if Jane Doe has had an orgasm. Tweed-McCord messaged “I bet

you look really cute naked” and “I kind of like saying dirty things to you”. L.C-V. said Tweed-

McCord sent Jane Doe an image of a penis based on comments made before and after the image

was sent, but since it had been deleted, L.C-V. could not see the image.

          9.    On January 30, 2023, L.C-V. filed a police report with the James City County

Police Department (JCCPD) for the same offense.           L.C-V. reported Tweed-McCord is a

transgender female and said Jane Doe and Tweed-McCord came in contact with each other during

a holiday party in December 2022. Jane Doe had brought her tablet to the party and exchanged

contact    information   with   Tweed-McCord.   L.C-V.   was   not   comfortable with Jane    Doe


communicating with Tweed-McCord, since Tweed-McCord had previously dated Jane Doe’s


                                                3
Case 4:23-cr-00060-JKW-DEM Document 2 Filed 07/24/23 Page 4 of 8 PageID# 5




older sibling and the break up did not go well. L.C-V. felt that Tweed-McCord might have

exchanged contact information with Jane Doe to get close again with Jane Doe’s sibling. L.C-V.

went on Jane Doe’s tablet to delete Tweed-McCord’s contact infonnation when she observed an


application called Wattpad. Within that application, L.C-V. observed sexually explicit messages

from Tweed-McCord to Jane Doe.


       10.        On January 31, 2023, your affiant spoke with L.C-V. on the phone. Shortly after

the call, L.C-V. emailed your affiant screen shots of conversations she located on the Wattpad

application on Jane Doe’s tablet. A sample of the messages are as follows:

             a.   Tweed-McCord: “Wlien you’re alone, put your hand between your legs, inside your

                  panties, and rub back and forth'

             b.   Tweed-McCord: ‘Thinking about you rubbing your cute little pussy made me homy

                  and wamia rub my dick”. Sent on January 6, 2023.

             c.   Tweed-McCord: I’m gonna say a bunch of sex stuff so you get homy when you

                  read this”. Sent on January 7, 2023.

             d.   Tweed-McCord: “Rub your hard little nipples, put a mirror between your legs so

                  you can see your luffa and spread it open with your fingers”. Sent on January 7,

                  2023.


             e.   Tweed-McCord: “Lay in the bathtub and point the showerhead at your luffa, so the

                  water hits your ditty and feels super tingly”. Sent on January 7, 2023.

                  Tweed-McCord: Think about me and Dess fucking, my cock up their ass, them

                  whimpering, with their little dick hard”. Sent on January 7, 2023.




                                                     4
Case 4:23-cr-00060-JKW-DEM Document 2 Filed 07/24/23 Page 5 of 8 PageID# 6




             g-   Tweed-McCord: 'Tm naked and touching myself right now, my dick’s really hard

                  and I’m really homy”. Sent on January 9, 2023.

             h.   Tweed-McCord: “Do you have hair on your luufa yet?”

             1.   Tweed-McCord: “I bet you look really cute naked”. Sent on January 10, 2023.

             J-   Tweed-McCord: “I kinda like saying dirty things to you too”. Sent on January 10,

                  2023.


             k.   Tweed-McCord: “I wanna teach you all kinds of fun perverted stuff’. Sent on

                  January 10, 2023.

       11.        On Febmary 22, 2023, Jane Doe was forensically interviewed. Jane Doe said

Tweed-McCord is her sibling’s ex-boyfriend who is a transgender adult who now identifies as a

female. Jane Doe met Tweed-McCord at a cookie swap around Christmas 2022. Jane Doe advised

she told Tweed-McCord she was 11-years-old.            Jane Doe told Tweed-McCord about the


application Wattpad prior to leaving the party so they could communicate. Jane Doe also provided

Tweed-McCord with her number for texting. When Jane Doe returned home, she had a message

on Wattpad from Tweed-McCord.          Jane Doe talked about the messages Tweed-McCord sent her

as being about sex and male and female private parts. Tweed-McCord told Jane Doe what sex was

like and said Jane Doe should have sex with Tweed-McCord.          Tweed-McCord wanted to babysit

Jane Doe so they could have sex. Jane Doe said Tweed-McCord made her mb her girl part with

her hand once. Tweed-McCord sent Jane Doe an image of a penis that she believed belonged to

Tweed-McCord.




                                                  5
Case 4:23-cr-00060-JKW-DEM Document 2 Filed 07/24/23 Page 6 of 8 PageID# 7




        12.        On February 22, 2023, L.C-V. provided written consent for the examination of Jane

Doe’s tablet to Special Agent (SA) Eric Phillips. Due to a parental software program on the tablet,

it took additional time to gain access to forensically examine it.

        13.        On July 12, 2023, your affiant reviewed the forensic examination of the tablet

belonging to Jane Doe and observed the following text messages, which took place on January 11,

2023, to be of note:

              a.   Tweed-McCord: “Hey. I can send you dirty pics now. Do you wanna see some of

                   the stuff on my camera roll?

              b.   Jane Doe: “No, I’m fine I don’t want [name redacted] seeing them
                                                                                      5?




              c.   Tweed-McCord: “Okay, maybe later then

                   Tweed-McCord: “I kinda want to see your tits, just to compare them
                                                                                            5?

              d.


              e.   Tweed-McCord sent a file, but since it had been deleted your affiant could not see

                   what it was of


              f    Tweed-McCord: “Whoops sorry, I wanted the picture next to that one

              g-   Jane Doe: “I TOLD U I DIDN’T WANT TO SEE THEM SO [name redacted]

                   DOESN’T”


                   Tweed-McCord: “Well, at least [name redacted] didn’t see the nude
                                                                                           5^

              h.


              1,   Tweed-McCord: “That was my dick, by the way”

              J-   Jane Doe: “Hey my parents found out that you sent inappropriate stuff to me

              k.   Tweed-McCord: “Well, I sent you that one pic on accident
                                                                              5?




        14.        On July 14, 2023, your affiant checked Tweed-McCord through the Department of

Motor Vehicles and found her listed address to be in the City of Hampton, Virginia. Your affiant



                                                   6
Case 4:23-cr-00060-JKW-DEM Document 2 Filed 07/24/23 Page 7 of 8 PageID# 8




observed her DMV photograph and date of birth. Tweed-McCord was 25-years-old at the time of

the contact with Jane Doe.


       15.     On July 20, 2023, L.C-V. stated Jane Doe was in the Williamsburg, Virginia area

when she received the messages from Tweed-McCord. L.C-V. and Jane Doe left to go to Florida

on January 15, 2023.

                                        CONCLUSION


       Based upon the facts set forth above, I submit that probable case exists to believe

KRISTIANA MUNRO TWEED-MCCORD, has violated Title 18, United States Code,

§ 2422(b) that whoever knowingly using the mail or any facility or means interstate or foreign

commerce.... knowingly persuades, induces, entices, or coerces any individual who has not

obtained the age of eighteen to engage in prostitution or any sexual activity for which any person

could be charged with a criminal offense or attempts to do so shall be fined under this title and

imprisoned.



       FURTHER YOUR AFFIANT SAYETH NOT.



                                             Heather Call
                                             Task Force Officer

                                             FBI Child Exploitation Task Force
                                             Federal Bureau of Investigation


This affidavit has been reviewed for legal sufficiency by Assistant United States Attorney Lisa
R. McKeel.


Reviewed:
                Lisa R. McKeel
                Assistant United States Attorney


                                                7
Case 4:23-cr-00060-JKW-DEM Document 2 Filed 07/24/23 Page 8 of 8 PageID# 9




                                            fL
Subscribed and sworn to before me this eSVday of July 2023, in the City of Norfolk, Virginia.

                                            1)      ) STATES MAGISTRATE JUDGE
